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            6
                                             UNITED STATES DISTRICT COURT
            7
                                            EASTERN DISTRICT OF CALIFORNIA
            8

            9

           10   UNITED STATES OF AMERICA,                         Case No.: 1:03CR05220-06 OWW
           11                  Plaintiff,                         STIPULATION AND ORDER TO
                                                                  CONTINUE HEARING ON
           12                                                     PRESENTENCE INVESTIGATION
                               vs.
                                                                  REPORT
           13
                MARTIN VILLASENOR,
           14                                                     Date: March 20, 2006
                               Defendant.                         Time: 10:00 A.M.
           15                                                     Dept: OWW
           16

           17   IT IS HEREBY STIPULATED by and between the parties, through their respective counsel,
           18   Stanley A. Boone, Assistant United States Attorney, for plaintiff the United States, and Jack
           19   Carson Revvill for defendant Eloria Castaneda, that the hearing on the Presentence Investigation
           20   Report presently set for March 20, 2006 at 10:00 a.m. in the Department of the Honorable Oliver
           21   Wanger, Judge, be continued two weeks to April 3, 2006 due to unavailability of counsel, Mr.
           22   //
           23   //

           24   //

           25   /




                                                      Stipulation and order - 1

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                  Case 1:03-cr-05220-AWI Document 308 Filed 03/21/06 Page 2 of 2


            1   Revvill. The parties waive further notice of time and place of hearing.
            2
                Dated: March 16, 2006                                           /s/ Jack C. Revvill
            3                                                           Jack C. Revvill, Attorney for
                                                                        Eloria Castaneda
            4

            5
                Dated: March 16, 2006                                          /s/ Stanley A. Boone
            6                                                           McGregor Scott, United States Attorney
                                                                        By Stanley A. Boone, Assistant
            7                                                           United States Attorney

            8                                                 ORDER

            9   IT IS SO ORDERED
           10   Dated: March 20 , 2006                                  /s/ OLIVER W. WANGER
                                                                        Oliver W. Wanger, Judge
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                                                       Stipulation and order - 2

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